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                                   2                                    UNITED STATES DISTRICT COURT

                                   3                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   5     CHASOM BROWN, et al.,                              Case No. 20-cv-03664-YGR (SVK)
                                   6                     Plaintiffs,
                                                                                            ORDER REGARDING PRIVILEGE
                                   7              v.                                        DISPUTE RE REDACTIONS
                                   8     GOOGLE LLC,                                        Re: Dkt. No. 533
                                   9                     Defendant.

                                  10          Plaintiffs sought and were granted in-camera review of two redacted pages (-380R; -381R)
                                  11   in a slide deck of 94 pages (-357R through -450R). Dkt. 516-3; Dkt. 522. In support of its
                                  12   redactions, Google submits a brief statement (Dkt. 533) and the declaration of a Google Product
Northern District of California
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                                  13   Manager, non-attorney Chetna Bindra, who attests to general involvement in the preparation and
                                  14   presentation of the slide deck. Dkt. 533-1 ¶ 3.
                                  15          Google argues that the redacted pages reflect legal advice regarding “regulatory
                                  16   compliance and competition issues.” Dkt. 533. Ms. Bindra further attests that the slides in
                                  17   question were prepared “by non-attorneys in collaboration with Google in-house counsel . . . .”
                                  18   Dkt. 533-1 at ¶ 5. Ms. Bindra does not attest that she prepared slides -380R and -381R, nor does
                                  19   she identify in-house counsel involved in the preparation of these two slides or what language on
                                  20   the slides in particular reflects legal advice regarding “regulatory compliance” or “competition
                                  21   issues.” Id. In sum, the Bindra declaration does not support the claim of attorney client privilege
                                  22   as to these two slides.
                                  23          Further, slide -380R reflects a product proposal; the fact of the proposal itself is not
                                  24   privileged. While the speaker notes (entitled “Narrative”), which appear on both slides, make a
                                  25   single reference to “legal advice” as a basis for the product proposal, the evidence does not
                                  26   demonstrate that the proposal itself reflects legal advice. The slides do reflect an assessment of
                                  27   business risks, but without sufficient evidence in support of that assessment coming from counsel,
                                  28   it is not privileged. Finally, slide -381 refers to a “Note on Legal Risk,” but for the same reasons
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                                   1   identified above, the evidence does not support that these risks were communicated by counsel. It

                                   2   is also significant that a version of those risks is articulated in unredacted slide -412 under the

                                   3   hearing “Legal Risks,” as noted by Plaintiffs in Dkt. 516-3, and are therefore presumed not to be

                                   4   privileged. Unredacted slides of -380R and -381R are to be produced by close of business on

                                   5   April 18, 2022.

                                   6          SO ORDERED.

                                   7   Dated: April 15, 2022

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                                                                                                      SUSAN VAN KEULEN
                                  10                                                                  United States Magistrate Judge
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Northern District of California
 United States District Court




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